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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

 In re                                                  Chapter 11

                                                         Case No. 23-10831 (MFW)
 Lordstown Motors Corp., et al.,1
                                                         (Jointly Administered)

                                       Debtors.          Hearing Date: February 22, 2024 at 10:30 a.m. (ET)
                                                         Objection Deadline: February 12, 2024 at 4:00 p.m.


     NOTICE OF DEBTORS’ SECOND MOTION TO EXTEND THE DEBTORS’
  EXCLUSIVE PERIODS TO FILE AND SOLICIT VOTES ON A CHAPTER 11 PLAN

         PLEASE TAKE NOTICE that, on January 29, 2024, the debtors and debtors in possession

in the above-captioned cases (collectively, the “Debtors”) filed Debtors’ Second Motion to Extend

the Debtors’ Exclusive Periods to File and Solicit Votes on a Chapter 11 Plan (the “Motion”) with

the United States Bankruptcy Court for the District of Delaware (the “Court”).

         PLEASE TAKE FURTHER NOTICE that, any responses or objections to the Motion

must be in writing and filed with the Clerk of the Court, 824 North Market Street, 3rd Floor,

Wilmington, Delaware 19801 on or before February 12, 2024 at 4:00 p.m. (prevailing Eastern

Time).

         PLEASE TAKE FURTHER NOTICE that, if any objections to the Motion are received,

the Motion and such objections shall be considered at a hearing before The Honorable Mary F.

Walrath, United States Bankruptcy Judge for the District of Delaware, at the Court, 824 North

Market Street, 5th Floor, Courtroom 4, Wilmington, Delaware 19801 on February 22, 2024 at

10:30 a.m. (prevailing Eastern Time).




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                 The Debtors and the last four digits of their respective taxpayer identification numbers are:
Lordstown Motors Corporation (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101).
The Debtors’ service address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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    PLEASE TAKE FURTHER NOTICE THAT, IF NO OBJECTIONS TO THE

MOTION ARE TIMELY FILED IN ACCORDANCE WITH THIS NOTICE, THE COURT

MAY GRANT THE RELIEF REQUESTED IN THE MOTION WITHOUT FURTHER

NOTICE OR HEARING.



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Dated: January 29, 2024
Wilmington, Delaware

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